                                                                                       FILED
            Case 1:21-cv-01231-UNA Document 3 Filed 05/25/21 Page 1 of 3


                                                                                             5/25/2021
                                                                                  Clerk, U.S. District & Bankruptcy
                             UNITED STATES DISTRICT COURT                         Court for the District of Columbia
                             FOR THE DISTRICT OF COLUMBIA

ABRAHAM PORTNOV,                               )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )       Civil Action No. 1:21-cv-01231 (UNA)
                                               )
UNITED STATES OF AMERICA, et al.,              )
                                               )
               Defendants.                     )


                                  MEMORANDUM OPINION

       This matter is before the court on its initial review of plaintiff’s pro se complaint and

application for leave to proceed in forma pauperis. The court will grant the in forma pauperis

application and dismiss the case pursuant to 28 U.S.C. § 1915(e)(2)(B), by which the court is

required to dismiss a case “at any time” if it determines that the action is frivolous.

       “A complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A complaint that lacks “an arguable basis either in

law or in fact” is frivolous, Neitzke v. Williams, 490 U.S. 319, 325 (1989), and a “complaint plainly

abusive of the judicial process is properly typed malicious,” Crisafi v. Holland, 655 F.2d 1305,

1309 (D.C. Cir. 1981).

       Plaintiff has filed a rambling complaint consisting of unconnected anecdotes and mostly

incomprehensible allegations. He sues the United States and United States Senator Dianne

Feinstein. Plaintiff seemingly contends that, at Senator Feinstein’s suggestion, he sent over 1000

pages of documents to her office, and since that time, the Senator’s office has refused to correspond

with him, or to return any of those documents at his request. Plaintiff’s intended claims,
                                                   1
          Case 1:21-cv-01231-UNA Document 3 Filed 05/25/21 Page 2 of 3




entitlement to relief, or basis for this court’s jurisdiction, are undiscernible. The remainder of the

complaint contains various political ruminations, as well as a lengthy discussion of plaintiff’s

dissatisfaction regarding various unfavorable decisions in other federal courts, the latter of which

he believes to be a fraudulent conspiracy. The relief sought is not entirely clear, but he seemingly

demands the return of his documents and for this court to intervene in the unfavorable

determinations rendered by other courts.

       The court cannot exercise subject matter jurisdiction over a frivolous complaint. Hagans

v. Lavine, 415 U.S. 528, 536–37 (1974) (“Over the years, this Court has repeatedly held that the

federal courts are without power to entertain claims otherwise within their jurisdiction if they are

‘so attenuated and unsubstantial as to be absolutely devoid of merit.’”) (quoting Newburyport

Water Co. v. Newburyport, 193 U.S. 561, 579 (1904)); Tooley v. Napolitano, 586 F.3d 1006, 1010

(D.C. Cir. 2009) (same). A court may dismiss a complaint as frivolous “when the facts alleged

rise to the level of the irrational or the wholly incredible,” Denton v. Hernandez, 504 U.S. 25, 33

(1992), or “postulat[e] events and circumstances of a wholly fanciful kind,” Crisafi, 655 F.2d at

1307–08. The instant complaint satisfies this standard.

       Furthermore, this court lacks jurisdiction to review the decisions of another district court.

See 28 U.S.C. §§ 1331, 1332 (general jurisdictional provisions); Fleming v. United States, 847 F.

Supp. 170, 172 (D.D.C. 1994); MacKenzie v. Fudge, No. 1:20-CV-00411 (TNM), 2021 WL

1061220, at *1 (D.D.C. Mar. 18, 2021) (“Because he brought and lost the same claims in another

federal court several years ago, MacKenzie cannot relitigate them here.”).




                                                  2
         Case 1:21-cv-01231-UNA Document 3 Filed 05/25/21 Page 3 of 3




       Consequently, this case will be dismissed.   A separate order accompanies this

memorandum opinion.




                                               TREVOR N. McFADDEN
Dated: 5/25/21                                 United States District Judge




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